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             Exhibit B
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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

SECURITIES AND EXCHANGE                           §
COMMISSION,                                       §
                                                  §              Civil Action No. 3:16-cv-1417
Plaintiff,                                        §
                                                  §
vs.                                               §
                                                  §          Related Case No. 3:17-cv-01106
ASH NARAYAN, THE TICKET                           §
RESERVE INC. a/k/a FORWARD                        §
MARKET MEDIA, INC., RICHARD M.                    §
HARMON, and JOHN A. KAPTROSKY                     §
                                                  §
Defendants.                                       §


      SPECIAL RECEIVER’S CERTIFICATION IN SUPPORT OF HER MOTION TO
         APPROVE PAYMENT OF SPECIAL RECEIVER’S FEES AND COSTS


I, Ferdose al-Taie, the court appointed Special Receiver in case number 3:17-cv-01106, do

hereby certify that:

1. I wrote the motion, and after reasonable inquiry and to the best of my knowledge,

      information and belief, the motion and all fees and expenses attached to it as Exhibit A are

      true, accurate and comply with the billing instructions;

2. All fees contained in the motion are: (a) based on a discounted rate; (b) commensurate with

      the rates charged by other professionals with similar experience in their respective

      geographic markets; and (c) reasonable, necessary and commensurate with the skill and

      experience required for the activities performed;

3. The amount for which reimbursement is sought does not include the amortization of the cost

      of any investment, equipment or capital outlay (except to the extent that any such



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    amortization is included within the permitted allowable amounts set forth herein for

    photocopies and facsimile transmission); and

4. The requests for reimbursement of services that were justifiably purchased or contracted for

    from third parties request reimbursement only for the amount billed by the third-party vendor

    and paid for by Dykema Gossett PLLC, and to the extent that such services were performed

    within Dykema Gossett PLLC, it is not making a profit on such reimbursable services.




Executed on August 28, 2019.



                                                    /s/ Ferdose al-Taie______________
                                                    Ferdose al-Taie




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